2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 1 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 2 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 3 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 4 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 5 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 6 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 7 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 8 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 9 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 10 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 11 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 12 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 13 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 14 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 15 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 16 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 17 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 18 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 19 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 20 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 21 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 22 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 23 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 24 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 25 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 26 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 27 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 28 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 29 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 30 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 31 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 32 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 33 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 34 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 35 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 36 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 37 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 38 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 39 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 40 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 41 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 42 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 43 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 44 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 45 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 46 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 47 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 48 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 49 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 50 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 51 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 52 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 53 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 54 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 55 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 56 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 57 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 58 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 59 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 60 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 61 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 62 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 63 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 64 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 65 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 66 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 67 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 68 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 69 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 70 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 71 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 72 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 73 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 74 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 75 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 76 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 77 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 78 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 79 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 80 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 81 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 82 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 83 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 84 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 85 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 86 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 87 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 88 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 89 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 90 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 91 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 92 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 93 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 94 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 95 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 96 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 97 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 98 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 99 of 100
2:22-cv-02555-RMG   Date Filed 08/03/22   Entry Number 1-1   Page 100 of 100
